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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE,
 DR. ALICE WASHINGTON, STEVEN
 HARRIS, ALEXIS CALHOUN, BLACK
 VOTERS MATTER CAPACITY
 BUILDING INSTITUTE, and THE
 LOUISIANA STATE CONFERENCE OF
 THE NAACP,                                      Civil Action No. 3:22-cv-00178
                                                 SDD-SDJ
                            Plaintiffs,

 v.

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana,

                            Defendant.


                  PLAINTIFFS’ MOTION FOR PRO HAC VICE
                     ADMISSION OF MEGAN C. KEENAN

       In accordance with Local Civil Rule 83(b)(8) governing visiting attorneys to the

United States District Court for the Middle District of Louisiana, the undersigned

John Adcock, counsel of record for Plaintiffs, respectfully requests that this Court

permit attorney Megan C. Keenan to appear and participate pro hac vice as counsel

on behalf of Plaintiffs.

       1.     Ms. Keenan is a licensed attorney admitted to practice in the State of

New York. She is a member in good standing of the Bar of the State of New York.

       2.     Pursuant to Local Civil Rule 83(b)(8), a declaration under oath by Ms.

Keenan is attached here as Exhibit 1 swearing that no disciplinary proceedings or




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criminal charges have been instituted against her. That declaration also contains the

oath required by Local Civil Rule 83(b)(8)(D).

      3.     Also pursuant to Local Civil Rule 83(b)(8), a Certificate of Good Standing

from the State of New York is attached here as Exhibit 2.

      WHEREFORE, John Adcock, member of the bar of this Court in good standing,

pray that this court enter an order permitting Megan C. Keenan to appear pro hac

vice for Plaintiffs in the above-captioned matter.



Date: June 12, 2023                            Respectfully submitted,

                                               /s/ John Adcock             _
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                                               New Orleans, LA 701119
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